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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
JOHN SEALOCK, on behalf of himself,
individually, and on behalf of all others similarly-situated,
                                                                        COMPLAINT

                                   Plaintiff,                           Docket No.:

                 -against-                                              Jury Trial Demanded

COVANCE MARKET ACCESS SERVICES, INC.,

                                    Defendant.
--------------------------------------------------------------------X

        Plaintiff, JOHN SEALOCK (“Plaintiff”), on behalf of himself, individually, and on

behalf of all others similarly-situated, (collectively as “FLSA Plaintiffs” and/or “Rule 23

Plaintiffs”), by and through his attorneys, BORRELLI & ASSOCIATES, P.L.L.C., as and for his

Complaint against COVANCE MARKET ACCESS SERVICES, INC. (“Covance” or

“Defendant”), alleges upon knowledge as to himself and his own actions and upon information

and belief as to all other matters as follows:

                                         NATURE OF THE CASE

        1.       This is a civil action for damages and equitable relief based upon willful

violations that Defendant committed of Plaintiff’s rights guaranteed to him by: (i) the overtime

provisions of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207(a); (ii) the overtime

provisions of the New York Labor Law (“NYLL”), NYLL § 160, N.Y. Comp. Codes R. & Regs.

(“NYCCRR”) tit. 12, § 142-2.2; (iii) the NYLL’s requirement that employers provide on each

payday wage statements to their employees containing specific categories of accurate

information, NYLL § 195(3); (iv) the NYLL’s requirement that employers furnish employees



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with a wage notice at hire containing specific categories of accurate information, NYLL §

195(1); and (v) any other claim(s) that can be inferred from the facts set forth herein.

       2.       Plaintiff worked for Defendant - - a contract research organization and drug

development company - - as a clinical research associate from July 28, 2016 through May 18,

2017. As described below, throughout the entirety of his employment, Defendant intentionally

misclassified Plaintiff as exempt, and as a result, willfully failed to pay Plaintiff the wages

lawfully due to him under the FLSA and the NYLL. Specifically, the Defendant required

Plaintiff to work more than forty hours per workweek, but intentionally failed to compensate him

at any rate of pay, let alone at the statutorily-required overtime rate for each hour that he worked

per week in excess of forty.

       3.       Additionally, Defendant failed to provide Plaintiff with proper wage statements

on each payday or with an accurate wage notice at the time of hire, as the NYLL requires.

       4.       Defendant paid and treated all of their clinical research associates in this same

manner.

       5.       Accordingly, Plaintiff brings this lawsuit against Defendant pursuant to the

collective action provisions of the FLSA, 29 U.S.C. § 216(b), on behalf of himself, individually,

and on behalf of all other persons similarly-situated during the applicable FLSA limitations

period who suffered damages as a result of Defendant’s willful violations of the FLSA. Plaintiff

brings his claims under the NYLL on behalf of himself, individually, and on behalf of any FLSA

Plaintiff, as that term is defined below, who opts-in to this action.

       6.       Plaintiff also brings this lawsuit as a class action pursuant to Federal Rule of Civil

Procedure (“FRCP”) 23, on behalf of himself, individually, and on behalf of all other persons

similarly-situated during the applicable NYLL limitations period who suffered damages as a



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result of the Defendant’s violations of the NYLL and the supporting New York State Department

of Labor regulations.

                                 JURISDICTION AND VENUE

        7.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, as this

action arises under 29 U.S.C. § 201, et seq. The supplemental jurisdiction of the Court is

invoked pursuant to 28 U.S.C. § 1367 over all claims arising under New York law.

        8.       Venue is appropriate in this Court pursuant 28 U.S.C. § 1391(b)(2), as a

substantial part of the events or omissions giving rise to the claims for relief occurred within this

judicial district.

                                            PARTIES

        9.       At all relevant times herein, Plaintiff worked for Defendant in New York and was

an “employee” entitled to protection as defined by the FLSA, the NYLL, and the NYCCRR.

        10.      At all relevant times herein, Defendant was and is a New Jersey corporation with

its principal place of business located at 210 Carnegie Center, Princeton, New Jersey 08540.

        11.      At all relevant times herein, Defendant was an “employer” within the meaning of

the FLSA and the NYLL. Additionally, Covance’s annual business exceeded and exceeds

$500,000, and Defendant is engaged in interstate commerce within the meaning of the FLSA, as

it operates a business that is incorporated and headquartered in one state and does business in

several others, the combination of which subjects Defendant to the FLSA’s overtime

requirements as an enterprise.

                           COLLECTIVE ACTION ALLEGATIONS

        12.      Plaintiff seeks to bring this suit to recover from Defendant unpaid overtime

compensation and liquidated damages pursuant to the applicable provisions of the FLSA, 29



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U.S.C. § 216(b), individually, on his own behalf, as well as on behalf of those in the following

collective:

               Current and former clinical research associates, or those working
               in a similar role, who during the applicable FLSA limitations
               period, performed any work for Defendant, and who consent to file
               a claim to recover damages for overtime compensation that is
               legally due to them (“FLSA Plaintiffs”).

       13.     Defendant treated Plaintiff and all FLSA Plaintiffs similarly in that Plaintiff and

all FLSA Plaintiffs: (1) performed similar tasks, as described in the “Background Facts” section

below; (2) were subject to the same laws and regulations; (3) were paid in the same or similar

manner; (4) were required to work in excess of forty hours in a workweek; and (5) were not paid

the required one and one-half times their respective regular rates of pay for all hours worked per

workweek in excess of forty.

       14.     At all relevant times herein, Defendant is and has been aware of the requirements

to pay Plaintiff and all FLSA Plaintiffs at an amount equal to the rate of one and one-half times

their respective regular rates of pay for all hours worked each workweek above forty, yet they

purposefully and willfully chose and choose not to do so.

       15.     Thus, Plaintiff and all FLSA Plaintiffs are victims of Defendant’s pervasive

practice of willfully refusing to pay their employees overtime compensation for all hours worked

per workweek above forty, in violation of the FLSA.

                               RULE 23 CLASS ALLEGATIONS

       16.     In addition, Plaintiff seeks to maintain this action as a class action pursuant to

FRCP 23(b)(3), individually, on his own behalf, as well as on behalf of those who are similarly

situated who, during the applicable limitations period, were subjected to violations of the NYLL

and the NYCCRR.


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       17.     Under FRCP 23(b)(3), Plaintiff must plead that:

               a. The class is so numerous that joinder is impracticable;

               b. There are questions of law or fact common to the class that predominate over

                  any individual questions of law or fact;

               c. Claims or defenses of the representative are typical of the class;

               d. The representative will fairly and adequately protect the class; and

               e. A class action is superior to other methods of adjudication.

       18.     Plaintiff seeks certification of the following FRCP 23 class:

               Current and former clinical research associates, or those working
               in a similar role, who during the applicable NYLL limitations
               period, performed any work for Defendant in New York, and who:
               (1) did not receive compensation at the legally-required overtime
               wage rate of pay for each hour worked per week over forty; and/or
               (2) were not provided with accurate wage statements on each
               payday pursuant to NYLL § 195(3); and/or (3) were not provided
               with an accurate wage notice at the time of hire pursuant to NYLL
               § 195(1).

                                           Numerosity

       19.     During the previous six years the Defendant has, in total, employed at least forty

employees that are putative members of this class.

                             Common Questions of Law and/or Fact

       20.     There are questions of law and fact common to each and every Rule 23 Plaintiff

that predominate over any questions solely affecting individual members of the FRCP 23 class,

including but not limited to the following: (1) the duties that the Defendant required and require

each Rule 23 Plaintiff to perform; (2) the manner of compensating each Rule 23 Plaintiff; (3)

whether Rule 23 Plaintiffs worked in excess of forty hours per week; (4) whether the Defendant

failed to pay Rule 23 Plaintiffs proper overtime compensation for all hours worked in excess of

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forty in a week; (5) whether the Defendant furnished and furnishes Rule 23 Plaintiffs with

accurate wage statements on each payday containing the information required by NYLL §

195(3); (6) whether the Defendant furnished and furnishes Rule 23 Plaintiffs with an accurate

wage notice at the time of hire containing the information required by NYLL § 195(1); (7)

whether the Defendant kept and maintained accurate records of hours worked by the Rule 23

Plaintiffs; (8) whether the Defendant kept and maintained records with respect to the

compensation that they paid to the Rule 23 Plaintiffs for each hour worked; (9) whether the

Defendant has any affirmative defenses to any of the Rule 23 Plaintiffs’ claims; (10) whether the

Defendant’s actions with respect to the Rule 23 Plaintiffs were in violation of the NYLL and

supporting regulations; and (11) if so, what constitutes the proper measure of damages.

                              Typicality of Claims and/or Defenses

       21.     As described in the “Background Facts” section below, the Defendant employed

Plaintiff and Rule 23 Plaintiffs within the meaning of the NYLL. Plaintiff’s claims are typical of

the claims of the Rule 23 Plaintiffs whom he seeks to represent, as the Rule 23 Plaintiffs work

and/or have worked for Defendant as clinical research associates, and Defendant did not: pay

them overtime pay for all hours worked in a week over forty; and/or provide them with accurate

wage statements on each payday; and/or provide them with an accurate wage notice at the time

of hire. Plaintiff and the Rule 23 Plaintiffs enjoy the same statutory rights under the NYLL to

receive overtime wages for all hours worked each week over forty, and to be furnished with

accurate wage statements on each payday and an accurate wage notice at the time of hire.

Plaintiff and the Rule 23 Plaintiffs have all sustained similar types of damages as a result of the

Defendant’s failure to comply with the NYLL and supporting regulations. Plaintiff and the Rule

23 Plaintiffs all have suffered injury, including lack of compensation, due to the Defendant’s



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common policies, practices, and patterns of conduct. Thus, Plaintiff’s claims and/or Defendant’s

defenses to those claims are typical of the Rule 23 Plaintiffs’ claims and the Defendant’s

defenses to those claims.

                                              Adequacy

        22.       Plaintiff, as described below, worked the same or similar hours as the Rule 23

Plaintiffs throughout his employment with Defendant. Defendant did not pay Plaintiff overtime

for all hours worked over forty in a week, and did not furnish Plaintiff with accurate wage

statements on each payday or with an accurate wage notice at the time of hire, which is

substantially similar to how Defendant paid and treated the Rule 23 Plaintiffs. Plaintiff fully

anticipates providing discovery responses and testifying under oath as to all of the matters raised

in this Complaint and that will be raised in Defendant’s Answer. Thus, Plaintiff would properly

and adequately represent the current and former employees whom Defendant has subjected to the

treatment alleged herein.

                                              Superiority

        23.       Plaintiff has no, or very few, material facts relating to the Rule 23 Plaintiffs’

claims that are atypical of those of the putative class. Indeed, at all relevant times herein, the

Defendant treated Plaintiff identically, or at the very least, substantially similarly, to the Rule 23

Plaintiffs.

        24.       Any lawsuit brought by any clinical research associate of the Defendant would be

identical to a suit brought by any other similar employee for the same violations as alleged

herein. Thus, separate litigation would risk inconsistent results.

        25.       Accordingly, this means of protecting Rule 23 Plaintiffs’ rights is superior to any

other method, and this action is properly maintainable as a class action under FRCP 23(b)(3).



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       26.     Additionally, Plaintiff’s counsel has substantial experience in this field of law.

                                    BACKGROUND FACTS

       27.     Defendant is a global contract research organization and drug development

company that provides nonclinical, preclinical, clinical, and commercialization services to

pharmaceutical biotechnology companies, with an aim to reduce the time and costs associated

with drug development.       Defendant additionally offers laboratory testing services to the

chemical, agrochemical, and food industries, providing services for toxicology, central

laboratory, discovery, and Phase III clinical trial management.

       28.     Plaintiff worked for Defendant from July 28, 2016 to May 17, 2017, with a

substantial amount of his duties performed from his residence located in the Bronx, New York.

       29.     As a clinical research associate, Plaintiff’s main duties consisted of monitoring

clinical sites by regularly contacting sites by email or phone to check the status of recruitment,

study supplies, medical data entry, and updated study and regulatory documents. Additionally,

Plaintiff’s duties required him to close out clinical sites, which included collecting completed

documents, and obtaining the final signatures.       Furthermore, Plaintiffs’ duties consisted of

maintaining study files that required Plaintiff to follow a system for properly filing and indexing

documents.

       30.     Throughout his employment, Defendant required Plaintiff to work, and Plaintiff

did work, five days per week, starting his workday at approximately 9:00 a.m. and ending

between approximately 5:30 p.m. and 6:00 p.m., while rarely providing him with an

uninterrupted break during each workday. Thus, by approximation, Defendant required Plaintiff

to work, and Plaintiff did work, between forty-two and one-half and forty-five hours per week.




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       31.     For the entirety of his employment, Defendant paid Plaintiff a flat weekly salary

of $1,384.61, which was intended to cover only the first forty hours that Plaintiff worked each

week, and which yields a regular hourly rate of $34.61 per hour.



       32.     By way of example only, during the week of April 16 through April 22, 2017,

Defendant required Plaintiff to work, and Plaintiff did work, forty-four hours over the course of

five days. For his work that week, Defendant paid Plaintiff $1,384.61, which covered only the

first forty hours that he worked.

       33.     Throughout his employment, Defendant never paid Plaintiff for any hours that he

worked in a week in excess of forty, and thus not at the rate of $51.92, which is time and one-

half his regular hourly rate of $34.61.

       34.     Defendant paid Plaintiff on a bi-weekly basis.

       35.     On each occasion when they paid Plaintiff, Defendant failed to provide Plaintiff

with a wage statement that accurately listed, inter alia, his actual hours worked for that week, or

an accurate listing of his hours worked to be paid at the overtime or straight-time rate of pay.

       36.     Additionally, Defendant did not provide Plaintiff with a wage notice at the time of

his hire that accurately contained, inter alia, Plaintiff’s regular and overtime rates of pay as

designated by the employer.

       37.     Defendant treated Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs in the same

manner described herein.

       38.     Defendant acted in this manner to maximize its profits and minimize its labor

costs and overhead.




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        39.     Each hour that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs worked was for

Defendant’s benefit.

                   FIRST CLAIM FOR RELIEF AGAINST DEFENDANT
                            Unpaid Overtime under the FLSA

        40.     Plaintiff and FLSA Plaintiffs repeat, reiterate, and re-allege each and every

allegation set forth above with the same force and effect as if more fully set forth herein.

        41.     29 U.S.C. § 207(a) requires employers to compensate their employees at a rate not

less than one and one-half times their regular rate of pay for all hours worked exceeding forty in

a workweek.

        42.     As described above, Defendant is an employer within the meaning of the FLSA,

while Plaintiff and FLSA Plaintiffs are employees within the meaning of the FLSA.

        43.     As also described above, Plaintiff and FLSA Plaintiffs worked in excess of forty

hours per week, yet Defendant failed to compensate Plaintiff and FLSA Plaintiffs in accordance

with the FLSA’s overtime provisions.

        44.     Defendant willfully violated the FLSA.

        45.     Plaintiff and FLSA Plaintiffs are entitled to overtime pay for all hours worked per

week in excess of forty at the rate of one and one-half times their respective regular rates of pay.

        46.     Plaintiff and FLSA Plaintiffs are also entitled to liquidated damages and

attorneys’ fees for Defendant’s violations of the FLSA’s overtime provisions.

                  SECOND CLAIM FOR RELIEF AGAINST DEFENDANT
                     Unpaid Overtime under the NYLL and the NYCCRR

        47.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action,

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.


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        48.     NYLL § 160 and 12 NYCCRR § 142-2.2 require employers to compensate their

employees at a rate not less than one and one-half times their regular rates of pay for all hours

worked exceeding forty in a workweek.

        49.     As described above, Defendant is an employer within the meaning of the NYLL

and the NYCCRR, while Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this

action, are employees within the meaning of the NYLL and the NYCCRR.

        50.     As also described above, Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who

opts-into this action, worked in excess of forty hours in a workweek, yet Defendant failed to

compensate them in accordance with the NYLL’s and the NYCCRR’s overtime provisions.

        51.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, are

entitled to their overtime pay for all hours worked per week in excess of forty at the rate of one

and one-half times their respective regular rates of pay.

        52.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, are

also entitled to liquidated damages, interest, and attorneys’ fees for Defendant’s violations of the

NYLL’s and the NYCCRR’s overtime provisions.

                   THIRD CLAIM FOR RELIEF AGAINST DEFENDANT
               Failure to Furnish Proper Wage Statements in Violation of the NYLL

        53.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action,

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        54.     NYLL § 195(3) requires that employers furnish employees with wage statements

containing accurate, specifically enumerated criteria on each occasion when the employer pays

wages to the employee.



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        55.     As described above, Defendant, on each payday, failed to furnish Plaintiff, Rule

23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, with accurate wage statements

containing the criteria required under the NYLL.

        56.     Prior to February 27, 2015, pursuant to NYLL § 198(1-d), Defendant is liable to

Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, in the amount of

$100 for each workweek after the violation occurred, up to a statutory cap of $2,500.

        57.     On or after February 27, 2015, pursuant to NYLL § 198(1-d), Defendant is liable

to Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, in the amount of

$250 for each workday after the violation occurred, up to a statutory cap of $5,000.

                 FOURTH CLAIM FOR RELIEF AGAINST DEFENDANT
                Failure to Furnish Proper Wage Notices in Violation of the NYLL

        58.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action,

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        59.     NYLL § 195(1) requires that employers provide employees with a wage notice at

the time of hire containing accurate, specifically enumerated criteria.

        60.     As described above, Defendant failed to furnish Plaintiff, Rule 23 Plaintiffs, and

any FLSA Plaintiff who opts-into this action, with accurate wage notices at hire containing all of

the criteria required under the NYLL.

        61.     Prior to February 27, 2015, pursuant to NYLL § 198(1-b), Defendant is liable to

Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, in the amount of

$50 for each workweek after the violations initially occurred, up to a statutory cap of $2,500.




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          62.    On or after February 27, 2015, pursuant to NYLL § 198(1-b), Defendant is liable

to Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts-into this action, in the amount of

$50 for each workday after the violations initially occurred, up to a statutory cap of $5,000.

                                 DEMAND FOR A JURY TRIAL

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff, FLSA Plaintiffs, and Rule 23

Plaintiffs demand a trial by jury in this action.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs demand judgment

against Defendant as follows:

          a.     A judgment declaring that the practices complained of herein are unlawful and in

willful violation of the aforementioned United States and New York State laws;

          b.     Preliminary and permanent injunctions against Defendant and its officers, owners,

agents, successors, employees, representatives, and any and all persons acting in concert with

them, from engaging in each of the unlawful practices, policies, customs, and usages set forth

herein;

          c.     An order restraining Defendant from any retaliation against Plaintiff, FLSA

Plaintiffs, and/or Rule 23 Plaintiffs for participation in any form in this litigation;

          d.     Designation of this action as an FLSA collective action on behalf of Plaintiff and

FLSA Plaintiffs and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to the FLSA

Plaintiffs, apprising them of the pendency of this action, permitting them to assert timely FLSA

claims in this action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b), and

tolling of the statute of limitations;




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       e.       Certification of the claims brought in this case under the NYLL and NYCCRR as

a class action pursuant to FRCP 23;

       f.       All damages that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs have sustained

as a result of Defendant’s conduct, including all unpaid wages and any short fall between wages

paid and those due under the law that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs would

have received but for Defendant’s unlawful payment practices;

       g.       Liquidated damages and any other statutory penalties as recoverable under the

FLSA and the NYLL;

       h.       Awarding Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs their costs and

disbursements incurred in connection with this action, including expert witness fees and other

costs, as well as reasonable attorneys’ fees, and an award of a service payment to Plaintiff;

       i.       Designation of Plaintiff and his counsel as class/collective action representatives

under the FRCP and the FLSA;

       j.       Pre-judgment and post-judgment interest, as provided by law; and




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       k.      Granting Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs such other and further

relief as this Court finds necessary and proper.

Dated: New York, New York
       August 3, 2017

                                              Respectfully submitted,
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                                      By:     __________________________________
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                                              ALEXANDER T. COLEMAN (AC 1717)
                                              MICHAEL J. BORRELLI (MB 8533)




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